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                      IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

IN RE:                                       )       Case No. 19-10562
                                             )
BCause Mining LLC,                           )       Judge Janet S. Baer
                                             )
         debtor/debtor-in-possession.        )       Chapter 11

                                        NOTICE OF MOTION

TO:      ATTACHED SERVICE LIST

         PLEASE TAKE NOTICE that on the 8th day of May, 2019 at 10:00 a.m., or soon
thereafter as counsel can be heard, I shall appear before the Honorable Janet S. Baer, Bankruptcy
Judge, in the room usually occupied by her as Courtroom 615 in the United States Bankruptcy
Court in the Everett McKinley Dirksen Federal Building, 219 S. Dearborn Street, Chicago,
Illinois, or before any other Judge who may be sitting in her place and stead and shall present the
Motion to Employ Attorneys, a copy of which is attached hereto and herewith served upon you,
and shall pray for the entry of an Order in compliance therewith.

         AT WHICH TIME and place you may appear if you so see fit.

                                                            /s/Scott R. Clar
                                                            Crane, Simon, Clar & Dan
                                                            135 S. LaSalle St., Ste. 3705
                                                            Chicago, Illinois 60603
                                                            (312) 641-6777

                                 CERTIFICATE OF SERVICE

        The undersigned, being first duly sworn on oath deposes and states that he caused a copy
of the foregoing Notice and attached Motion to be served on all parties listed on the attached
Service List via the Court’s Electronic Registration (where indicated) and via email (where
indicated) on the 3rd day of May, 2019 before the hour of 5:00 p.m.

                                                            /s/Scott R. Clar
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                                      SERVICE LIST

Court’s Electronic Registration:                321 N. Clark St., #1600
                                                Chicago, IL 60654
Patrick S. Layng                                bshaw@foxrothschild.com
Office of the United States Trustee             csanfelippo@foxrothschild.com
219 S. Dearborn St., Rm. 873
Chicago, IL 60604                               Via e-mail
USTPRegion11.ES.ECF@usdoj.gov                   George Sladoje
                                                Fred Grede, CEO
David A. Agay                                   BCause Mining LLC
Shara C. Cornell                                130 S. Jefferson St., #101
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                                                Russell R. Johnson III
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sangelino@schiffhardin.com                      McDonald Hopkins LLC
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Christina Sanfelippo                            mcarr@mcdonaldhopkins.com
Fox Rothschild LLP
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                      IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

IN RE:                                        )       Case No. 19-10562
                                              )
BCause Mining, LLC,                           )       Judge Janet S. Baer
                                              )
         debtor/debtor-in-possession.         )       Chapter 11

                            MOTION TO EMPLOY ATTORNEYS

         BCause Mining, LLC by their proposed counsel, Crane, Simon, Clar & Dan, seek the

entry of an order authorizing them to retain and employ Scott R. Clar, Arthur G. Simon, Jeffrey

C. Dan, and the law firm of Crane, Simon, Clar & Dan (collectively “CSCD”) as their

bankruptcy counsel, retroactive to April 11, 2019, and in support thereof, states as follows:

         1.     On April 11, 2019, the Debtor filed its voluntary petition for relief under Chapter

11 of the Bankruptcy Code (“Petition Date”).

         2.     The Debtor has been managing its financial affairs as debtor-in-possession since

the Petition Date. No trustee or examiner has been appointed to serve in this reorganization case.

A Committee of Unsecured Creditors was appointed on April 24, 2019.

         3.     This Court has jurisdiction over this matter pursuant to 28 U.S.C. Section 1334.

Venue is proper in this district pursuant to 28 U.S.C. §§1408 and 1409.

         4.     This matter constitutes a “core” proceeding within the meaning of 28 U.S.C.

Section 157(b).

         5.     The statutory predicates for the relief requested in this Motion are Sections 327(a)

and 1107(b) of the Bankruptcy Code, and Rules 2014(a) and 2016(b) of the Federal Rules of

Bankruptcy Procedure.
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        6.     The Debtor has selected CSCD and its attorneys, all of whom are duly admitted to

practice before this Court, as its attorneys in this bankruptcy case, and by this Motion the Debtor

seeks the entry of an Order approving the Debtor’s retention and employment of CSCD.

Relevant Factual Background

        7.     The Debtor is in the crypto currency mining business, which is the process of

producing digital currency using cryptography and high-powered computers known as mining

rigs, or minors. The Debtor does not itself mine, but is a service provider that hosts a mining

venue for its customers.

        8.     The Debtor provides a state of the art mining facility in Virginia Beach, Virginia,

and maintains offices located at 130 S. Jefferson Street, Suite 101, Chicago, Illinois, 60661.

        9.     The Debtor is wholly owned by BCause LLC, which is a limited liability holding

company also formed in Virginia (“BC Holding”). BC Holding filed its own Chapter 11 case on

April 12, 2019.

        10.    The Debtor’s Chapter 11 filing was triggered by a judgment entered in favor of

WESCO in the approximate amount of $1,900,000 and a garnishment of BC Holding’s bank

account, from which all of the Debtor’s and Holding’s bills are paid, including bills for utilities

such as Dominion Energy, which had threatened a shut-off of the Debtor’s utilities for non-

payment, as of April 12, 2019.

Request for Relief

        10.    By this Motion, the Debtor requests that this Court enter an Order authorizing the

Debtor to employ CSCD as its bankruptcy counsel pursuant to Section 327(a) of the Bankruptcy

Code.
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       11.    The Debtor has selected CSCD as its bankruptcy counsel because CSCD has

considerable experience in matters of this nature and the attorneys of CSCD are well-qualified to

perform the services as required in this bankruptcy case. Attached to this Application as Exhibit

A is a true and accurate copy of the engagement letter between CSCD and the Debtor.

       12.    The Debtor further states that it is necessary for it to employ and have the aid of

CSCD as its duly qualified counsel to render the following professional services, namely;

              a.      To prepare necessary applications, motions, answers, orders, adversary
                      proceedings, reports and other legal papers for presentation to this Court;

              b.      To provide the Debtor advice with respect to their rights and duties
                      involving its property as well as their reorganization efforts herein;

              c.      To appear in court and to litigate any issues, when necessary; and

              d.      To perform any and all other legal services that may be required from time
                      to time in the ordinary course of the Debtor’s business during the
                      administration of this bankruptcy case.

       13.    To the best of the Debtor’s knowledge, and pursuant to the Affidavits of Scott R.

Clar, Arthur G. Simon, and Jeffrey C. Dan, attached hereto as Group Exhibit B, and as

incorporated by reference herein, CSCD does not hold any interest adverse to the Debtor or the

estate in the matters upon which CSCD is to be engaged, except that CSCD is also

simultaneously presenting a motion to be employed in the BC Holding Chapter 11 case.

Compensation and reimbursement of expenses to CSCD are subject to further order of this

Court. CSCD received a pre-petition retainer in the amount of $26,702.38 as proceeds of loans

to the Debtor by Debtor’s 10.34% member, Michael Adolphi (“Adolphi”) in the amount of

$12,492.69, Debtor’s 2.18% member, Joseph LaMontagne (“LaMontagne”) in the amount of

$12,492.69 and Debtor’s .55% member, Bruce Pollack (“Pollack”) in the amount of $1,717.

Neither Adolphi, LaMontagne nor Pollack are creditors of the Debtor other than for the loans
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provided to the Debtor to fund the Debtor’s pre-petition retainer to CSCD. However, Adolphi

and Pollack are creditors of BC Holding in the amounts of $87,667.49 and $33,480.38,

respectively. CSCD has applied the sum of $884 against that retainer for services provided to

the Debtor by CSCD prepetition, leaving a balance of $25,818.38.

       WHEREFORE, BCAUSE MINING LLC, debtor/debtor-in-possession, prays for the

entry of an Order as follows:

       A.      Authorizing the Debtor to Employ CSCD as its bankruptcy counsel, retroactive to

April 11, 2019; and

       B.      Granting such other and further relief as this Court deems just and equitable.

                                             BCAUSE MINING LLC,
                                             Debtor/debtor-in-possession

                                             By: \s\ Scott R. Clar
                                                    One of its attorneys


DEBTOR’S COUNSEL:
Scott R. Clar (Atty. No. 06183741)
Arthur G. Simon (Atty. No. 03124481))
Jeffrey C. Dan (Atty. No. 06242750)
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